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           American Vanguard

        From: schönundweiß
        Sat, 04 Feb 2017 21:20:01 GMT




        Hey there,
        I was very briefly involved with AV during Starman's time as leader. I am a propagandist who has
        made stuff for several different groups, including Atomwaffen, Silver Legion, and some local things
        in the new england area. I am interested in continuing to make stuff for AV, but the reason I left was
        the general cucked stance of the group, and the aversion to swastikas, hitler, national socialism,
        and fascism. I'd love to get back in with you guys and show you some of the things I've been
        working on in the way of AV propaganda. If you're interested, feel free to message me here or on
        discord. My username there is Kai #3007

        Thanks and best,
        Rekse Kai



        From: Lauburu88
        Mon, 06 Feb 2017 07:24:50 GMT




        Your discord doesn't work


        From: schönundweiß
        Mon, 06 Feb 2017 07:30:04 GMT




        did you try variations? Like Kai#3007?


        From: schönundweiß
        Mon, 06 Feb 2017 07:32:39 GMT




https://www.ironmarch.exposed/message/22343#msg-22343                                                            1/2
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        also probably without capitalization?
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        From: Lauburu88
        Mon, 06 Feb 2017 07:40:56 GMT




        Just add me. UncleBob#6190




                   Dedicated in memory of Blaze Bernstein, ‫ז׳׳ל‬, so that others may not suffer the same fate.

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                                                        Follow @jewishworker   30k

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